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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS,

                Plaintiff,

         v.
                                                          Civil Action No. 25-0532 (TNM)
 TAYLOR BUDOWICH,
 White House Deputy Chief of Staff, et al.,

                Defendants.


                        OPPOSITION TO MOTION TO ENFORCE

       Defendants—Taylor Budowich, in his official capacity as White House Deputy Chief of

Staff; Karoline Leavitt, in her official capacity as White House Press Secretary; and Susan Wiles,

in her official capacity as White House Chief of Staff—respectfully oppose the plaintiff’s motion

to enforce the preliminary injunction. ECF No. 56. Defendants have fully complied with the

Court’s injunction. The Court ordered Defendants to rescind the denial of the Associated Press’

access to certain areas based on the Associated Press’ viewpoint. Since April 14, 2025, when the

stay of the injunction expired, the Associated Press has not been excluded from the White House

press pool based on its viewpoint. See Third Declaration of Taylor Budowich (“Third Budowich

Decl.”) ¶ 3. Naturally, this does not mean that the Associated Press was immediately placed in

every daily press pool and granted access to every media event at the White House starting on

April 14, 2025. The injunction the Court entered does not go that far, nor does it require

displacement of other media outlets selected in an ordinary rotation or based on other discretionary

factors for limited spaces.

       The new White House Press Pool Policy confirms that Defendants have fully complied

with the Court’s injunction. The new policy states that news outlets “will be eligible for
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participation in the Pool, irrespective of the substantive viewpoint expressed by an outlet.” ECF

No. 56, Ex. C. Indeed, the Associate Press’s objection to the policy is at best premature. The

policy issued only two days ago. And nothing in the Court’s order requires the Associated Press

to be placed first in any rotation adopted by the White House.

       It is telling that absent a stay, the Associated Press “is expected to receive a spot in the

Press Pool for print journalists by April 20, 2025[,]” and the White House has confirmed “that

photojournalists from the Associated Press are eligible for rotation into the pool and will not be

denied access based on viewpoint.” Id. ¶ 5. Indeed, a photojournalist from the Associated Press

participated in the Press Pool on April 17, 2025. Id.

       After the injunction was in effect for only two days, the Associated Press rushed to this

Court for unspecified “immediate assistance in enforcing” the injunction. See Pl.’s Mot. to

Enforce, ECF No. 56 at 2. This once again highlights the interbranch friction that the Court’s

injunction causes—the Associated Press now calls upon the Court to potentially take discovery

from senior White House officials, to superintend the implementation of new White House

policies, and to micromanage day-to-day decisions concerning matters as sensitive as access to the

Oval Office. That is not the proper role of the judiciary. Because the motion offers little, if

anything, more than speculation of noncompliance—which is refuted by the declaration filed with

this response; the new White House Press Pool Policy; and the facts on the ground—the Court

should deny relief.

                                      Standard of Review

       A court asked to enforce a prior order should only grant the motion when a “prevailing

plaintiff demonstrates that a defendant has not complied with a [prior order] entered against it.”

Heartland Hosp. v. Thompson, 328 F. Supp. 2d 8, 11 (D.D.C. 2004). At all times, the Court should




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demand an appropriate showing before granting any relief and wield its powers with care and due

recognition for enforcing its command without any gloss. See Flaherty v. Pritzker, 17 F. Supp. 3d

52, 55 (D.D.C. 2014) (cleaned up); Int’l Ladies’ Garment Workers’ Union v. Donovan, 733 F.2d

920, 922 (D.C. Cir. 1984). That is especially so when matters of interbranch comity are at issue.

The central question is whether the plaintiff has “received all relief required” by the Court’s prior

order. Heartland Hosp., 328 F. Supp. 2d at 11.

                                       Factual Background

       On Monday, April 14, counsel for the Associate Press sent Defendants’ counsel a short e-

mail misreading the Court’s injunction and demanding that the Associate Press be selected for

immediate press pool service. ECF No. 56, Ex. A. That same day, officials for the Associated

Press demanded to be let into the Oval Office for an event with the President of the United States—

despite not being part of the daily press pool—even though this Court’s order plainly requires no

such thing. This Court’s injunction merely requires Defendants to rescind any viewpoint-based

denial of the Associate Press’ access and permit access on equal-footing; it does not require

Defendants to admit the Associated Press any time the organization wishes.

       On Tuesday, April 15, the White House Communications Office issued a new White House

Press Pool Policy, which fully complies with this Court’s injunction. ECF No. 56, Ex. C. The

policy provides that “[e]ligible outlets will be chosen for the White House Press Pool on a rotating

basis.” Id. The policy states that the President, who is not named as a party in this litigation,

“retains absolute discretion over access to the Oval Office, Air Force One, and other comparably

sensitive spaces,” and makes clear that “[o]utlets will be eligible for participation in the Pool,

irrespective of the substantive viewpoint expressed by an outlet.” Id. (emphasis added).




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                                              Argument

       As the declaration filed with this response and the new White House Press Pool policy

make clear, Defendants have fully complied with the Court’s injunction. The Associated Press

nonetheless moved to enforce the injunction based on a mere two days of not being selected for

the daily press pool. But the Court’s order did not require the Defendants to give the Associated

Press special treatment or special access. And the Associated Press’s non-selection for Pool duties

for two days is not indicative of noncompliance with the injunction. The Associated Press’s

objection to the new policy—which issued only about fourteen hours before the Associate Press

filed the motion to enforce (most of which were overnight)—is both premature and unfounded.

Further demonstrating that Plaintiff’s motion to enforce is unsound, the Associated Press was

admitted as part of the daily press pool on April 17, 2025. Third Budowich Decl. ¶ 5.

       As explained below, the Court’s preliminary injunction did not require White House

officials to grant the Associated Press access to the Oval Office or to any other space or event on

April 14, 2025, or any other specific day. The injunction does not require pre-clearance by this

Court for changes to the press policy. Further, nothing in the April 15, 2025, White House Press

Pool Policy treats the Associated Press less favorably than comparable wire services or denies the

Associated Press access to the White House Press Pool based on its viewpoint.

       Because the injunction does not curtail the exercise of discretion by the White House to

change the press pool policy if the change does not use viewpoint to deny the Associated Press

access, the new policy fully complies with the injunction and explicitly provides that no entity will

be excluded from the press pool based on viewpoint. See Pl.’s Mot. to Enforce, ECF No. 56, Ex.

C. Rather than accepting Defendants’ good faith representations and efforts at compliance, the

Associated Press cries foul without reason.




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   I. The Defendants Have Complied With the Injunction Since It Went Into Effect
      on April 14, 2025, and the Associated Press’ Non-Selection Is Not the Same as
      Exclusion Based on Viewpoint.

       The motion to enforce in this case is founded upon the Associated Press’ misapprehension

of the injunction as commanding more than it does. Defendants have fully complied with the

injunction since it went into effect on April 14, 2025. See Third Budowich Decl. ¶¶ 3–5. The

White House has not denied access to the Associated Press based on viewpoint. Id. The absence

of the Associated Press from the daily press pool on April 14 was due to it not being its turn in the

rotation on the first day the injunction was in effect rather than any exclusion based on viewpoint.

See id. ¶ 4. Counsel for the Associate Press reached out to government counsel that day to inquire

about the basis for the Associated Press not being in the daily press pool. Counsel for the

Associated Press was given reasonable assurance that evening that Reuters had been given the wire

service spot on April 14, 2025 based on a rotation, and that non-selection of the Associated Press

was unrelated to the litigation challenging viewpoint-based exclusions. See Pl.’s Mot. to Enforce,

ECF No. 56 Ex. A (April 14, 2025 email); see also Third Budowich Decl. ¶ 4. Notwithstanding

that assurance, the Associated Press filed a motion after one additional day of not being selected

into the daily press pool and the issuance of a new press policy that the Associated Press dislikes.

Two days of non-selection into the daily press pool since the injunction became effective hardly

amounts to “continuing [] exclu[sion of] the AP from the press pool,” as the Associated Press

contends (Pl.’s Mot. to Enforce at 1), and the new policy conforms with the injunction because it

does not deny the Associated Press or any other White House Press Pool member access to the

daily pool based on viewpoint.

       The Associated Press’ arguments are premised on an overly expansive reading of the

Court’s preliminary injunction. The Court crafted the injunction narrowly and specified that the




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injunction “restore[s] eligibility for [Plaintiff’s] admission to the press pool and limited-access

press events, untainted by an impermissible viewpoint-based exclusion . . . [which is] all the Court

orders [by way of injunctive relief].” See Mem. Order, ECF No. 46 at 40. The Associated Press’

motion does not claim that it was “treated worse than its peer wire services,” id., on April 14 or

15, 2025 (other than having to wait its turn in a rotation), or that the new press policy denies access

based on viewpoint.

       First, the Associated Press’ motion is based on in an incorrect reading of the injunction.

The Associated Press treats the injunction as requiring that it be given access to spaces or events

any time White House Press Pool journalists are present. But the injunction requires no such thing.

Instead, the injunction— until stayed or modified—requires the White House to rescind denials,

based on the Associated Press’ viewpoint, of access to the Oval Office, press area on Air Force

One, and other spaces and events “when such spaces are made open to other members of the White

House press pool.” See Apr. 8, 2025 Mem. Order at 41. Denials based on a daily press pool

rotation, where opportunities are given to other media in the regular course, are plainly allowed

under the Court’s injunction. Given the rotational processes used for the daily press pool and the

day-to-day discretion vested in the White House Press Secretary, no reasonable inference of

noncompliance could be drawn from the Associated Press not being selected during a period of

just a few days.

       The injunction requires the Associated Press to be restored to press pool eligibility, not that

it be immediately selected for service or selected more frequently than its peers. In the context of

injunctions, the exact commands of the Court set the metes and bounds, and in this case the Court

made clear that “the AP is not necessarily entitled to the ‘first in line every time’ permanent press

pool access it enjoyed under the WHCA.” Id. at 40. Because the motion to enforce improperly




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conflates non-selection with exclusion based on viewpoint, it fails to show that Defendants are not

in compliance with the injunction.

       Second, the injunction does not prohibit changes to the press policy as long as such changes

do not impose viewpoint-based access restrictions on the Associated Press. The April 15, 2025

policy does the opposite by stating explicitly that participating news outlets are eligible for

selection into the daily press pool “irrespective of the substantive viewpoint expressed by an

outlet.” See April 15, 2025 White House Press Pool Policy, Pl.’s Mot. to Enforce Ex. C at 4.

       Third, it is telling that the Associated Press’ photojournalist was selected to serve in the

White House Press Pool on April 17, and that the White House Communications Office expects

that the Associated Press will be selected for one of the print pool spots by April 20, 2025. See

Third Budowich Decl. ¶ 5. These selections are the product of the new White House Press Pool

Policy. The Associated Press’ rush to involve the federal judiciary in the day-to-day decision

making of senior White House officials is improper. There is no sound basis for further relief.

   II. A Deputy Press Secretary’s Reference to the Litigation on April 14, 2025 and
       Seeking Available Appellate Review Fail to Support Any Claim of
       Noncompliance.

       The Associate Press cites a single brief encounter between a non-lawyer White House

Deputy Press Secretary and Associated Press staff to support its claim of noncompliance. But this

encounter only highlights the Associate Press’s overbroad and incorrect reading of the injunction.

On the first day the injunction was effective, Associated Press staff demanded entry to the Oval

Office—despite not being part of the daily press pool—claiming that the injunction gave them

such a right. This despite the fact that the injunction plainly required no such thing. On the first

day the injunction became effective, it should not surprise anyone that a Deputy Press Secretary

was aware of and mentioned the litigation in response to an inquiry from the Associated Press




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when the organization demanded unscheduled access to the Oval Office. Significantly, according

to the account of the Associated Press’ representative, the Deputy Press Secretary attributed the

non-selection of the Associated Press to in the pool to the rotation system in place on April 14,

2025, rather than the Associated Press’ viewpoint. See Declaration of Chris Megerian ¶ 3, Pl.’s

Mot. to Enforce Ex. D. Beyond that, the Deputy Press Secretary was unclear about the impact of

the ongoing litigation, id. ¶ 5, but he did not indicate any then-present exclusion of the Associated

Press from the Oval Office or the press pool based on the Associated Press’ viewpoint. This

evidence proffered by the Associated Press confirms that Defendants are fully complying with the

injunction.

       The Associated Press suggests that because (a) it was not selected for the daily press pool

on the first few days the injunction was in effect, and (b) the government has taken an appeal and

sought a stay of the injunction pending appeal, Defendants are somehow not in compliance with

the Court’s injunction. That is wrong. The reason for the former is the application of White House

press policies in effect on those dates, which imposed no restriction on the access of Associated

Press based on its viewpoint. And it is telling that the Associated Press lacks evidence to the

contrary. As to the latter, the government’s representations and declaration should not be doubted,

nor should the government be penalized, for pursuing a legal right pursuant to seek appellate

review of a preliminary injunction pursuant to 28 U.S.C. § 1292(a)(1). Respectful compliance

with the injunction while simultaneously requesting relief from the appellate court are not mutually

exclusive, as the Associated Press’ motion (at ¶¶ 5–6) implies.

       In addition, the Court’s preliminary injunction made clear that it did not require the White

House to turn back time and return to the days when the Associated Press was “prioritized” or

“guaranteed” access or given the “line leader” position at press events. See Mem. Op. & Order,




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ECF No. 46 at 4. Thus, the Associated Press’s baseless request that the Court should enforce the

injunction—notably, without suggesting how—invites judicial micromanagement of press access

at the White House, including the Oval Office. And it does so without meaningful evidence

demonstrating impaired access compared to other wire services based on the Associated Press’

viewpoint. The Court should thus reject the Associated Press’ attempt to embroil the Court in the

daily management of the White House press pool. That is true under the terms of the existing

injunction. And that is true as a matter of interbranch comity.

       Plaintiff’s motion is especially unfounded as the White House Press team has gone to

exceptional lengths to comply with the Court’s order. That order required the White House

Communications Office to fundamentally alter its processes for managing the White House Press

Pool. The Administration has spent considerable time and attention addressing this issue, and has

been forced to divert time from pressing matters of national and international importance to do so.

       As the motion to enforce reflects, until the novel legal questions on which the Court has

granted preliminary injunctive relief are resolved, every time a reporter or photographer from the

Associated Press is not admitted to events at the Mar-a-Lago Club, on Air Force One, or in the

Oval Office, accusations of viewpoint discrimination will be easy to make and burdensome to

refute. Here, the Associated Press proffers no evidence of viewpoint discrimination in violation

of the Court’s injunction. And the evidence proffered by Defendants confirms that they have

complied with the injunction in full.




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                                    CONCLUSION

       For all these reasons, the Court should deny the motion to enforce the preliminary

injunction.

 Dated: April 17, 2025                     Respectfully submitted,
        Washington, DC
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